Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 1 of 12 PageID: 2609




                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




  The Bank of New York Mellon FKA The
  Bank of New York as Trustee for the                    Case No. 2:15-cv-00500 MCA-MAH
  Certificateholders of CWALT Inc.,
  Alternative Loan Trust 2007-7T2, Mortgage                             CIVIL ACTION
  Pass-Through Certificates, Series 2007-7T2
                         Plaintiff                            PLAINTIFF’S OPPOSITION TO
                 v.                                             DEFENDANT’S MOTION
                                                           TO STAY PROCEEDINGS PENDING
  Andrew J. Witty,et al                                   LOSS MITIGATION AND OPPOSITION
                                 Defendant(s)               TO DEFENDANT’S REQUEST FOR
                                                             LEAVE TO DEPOSE WITNESSES




            Plaintiff hereby opposes Defendant’s Motion to Stay Foreclosure Proceedings pending

  loss mitigation, for leave to take depositions and for other relief thus:

             1. This is an action in mortgage foreclosure which Plaintiff commenced by the filing

  of a Complaint in the Superior Court of New Jersey on June 18, 2014 under Docket No.

  F-024738-14. The action arises out of the execution by Defendants Andrew Witty and Sheryl

  Witty ( “Witty” or “Defendants”) of a note and mortgage to evidence a loan extended to them

  In the original principal amount of $1,200,000.00. As set forth in the Complaint, Witty

  defaulted in the repayment of the loan by failing to make the monthly payment which became

  due on December 1, 2009. Thus, Witty has not made a payment on this loan in nearly fourteen

  (14) years.

             2. The foreclosure action was removed to the U.S. District Court in the within matter

  and thereafter consolidated with an action instituted by Witty against Plaintiff under Case No.15-

  8486. By Letter Order dated August 14,2020, this court granted Plaintiff’s Motion for Summary
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 2 of 12 PageID: 2610




  Judgment and denied Witty’s Cross Motion for Summary Judgment and dismissed Witty’s

  Complaint under case No. 15-8486.

             3. Following the court’s ruling, no sheriff’s sale could be scheduled immediately

  because pursuant to New Jersey law, summary judgment does not constitute final judgment,

  the entry of which is required prior to a sheriff’s sale. To enter final judgment, a foreclosure

  plaintiff must fix the amount due, usually by Certification of Proof of Amount Due. Further,

  when summary judgment was granted, the country was in the midst of the COVID pandemic

  moratorium on proceeding to final judgment in foreclosure cases, and , of course, sheriff’s

  sales. As a result of the above circumstances, Plaintiff was precluded from proceeding to final

  judgment. The entry of summary judgment did, however, resolve the merits of the foreclosure

  action in Plaintiff’s favor.

             4. By Order dated April 28, 2022, the court directed that the sale ( which will be

  conducted here by a magistrate as opposed to the sheriff in state foreclosure cases ) be held

  by July 29, 2022. If the documentation required to schedule the sale was not submitted by May

  28, 2022, the case would be dismissed. On May 31, 2022, the case was in fact dismissed.

             5. Plaintiff moved to vacate the dismissal and to reinstate the action on the active

  docket on July 14, 2023, and on October 2, 2023 filed a Motion to Enter Final Judgment. Such

  motion was accompanied by a Certification of Proof of Amount Due, as of August 15, 2023, in

  the amount of $2,663,719.67.

             6. Witty has moved to stay the foreclosure on the strength of an alleged loss

  mitigation application pursuant to 12 C.F.R. Section 1024 which prohibits so-called dual

  tracking, that is , the continued prosecution of a foreclosure application when a loss mitigation
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 3 of 12 PageID: 2611




  application is under active review. More recently, Witty has filed motions for leave to take

  depositions and for the production of documents.

                                MOTION TO STAY PROCEEDINGS

             7. Witty relies on 12 C.F.R. Section 1024 in support of his contention that the

  foreclosure should be stayed. He claims to have submitted a loss mitigation application

  “in various parts” on or about August 18, 2022. He does not append to his motion a copy of

  such submission nor the various documents required to be attached to such application in order

  to render the application complete and thus trigger the review on the merits. He does not attach

  any documentation or correspondence from Plaintiff to confirm that the loss mitigation was

  complete or even received. Nor does he explain how such an application would remain pending

  and under review for over one (1) year after it was submitted. In short, there is nothing to

  indicate that any loss mitigation application was submitted “in various parts” or otherwise, and

  particularly that any complete loss mitigation application was ever submitted. Without proof that

  a loss mitigation is pending, and there is none, there is nothing to review and therefore a stay is

  inappropriate. Further, by Defendant’s own admission, his claim is that a loss mitigation was

  submitted piecemeal in 2022. Any such application for loss mitigation must be complete before

  a defendant is entitled to a formal review, and such an application expires, or becomes “stale”, if

  not complete within 90 days. Therefore, Defendant’s application, if one were made, would have

  expired many months ago. Defendant would have been required to submit a complete, new

  application with updated financial information. And Defendant does not even allege to have done

  so.
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 4 of 12 PageID: 2612




                    AS TO DEPOSITIONS OF PLAINTIFF’S REPRESENTATIVES
                          AND OPPOSITION TO FINAL JUDGMENT

               8. Witty also moves to take the depositions of various individuals, attorneys and

  others because he claims to have been prejudiced because such individuals were not identified

  by name at the time of the initial Rule 26 disclosures. As a result, Witty claims extreme

  prejudice.


               9. To avoid the prejudice which befalls him, Defendant seeks to depose various

  individuals and wants to review yet more documentation. This application is made in the context

  of Defendant’s opposition to Plaintiff’s Motion to Enter Final Judgment. Instead of a filing,

  thoughtful, appropriate and serious opposition to final judgment, this submission lacks merit.

  It is, instead , another attempt to live in a house for free for as long as he possibly can,

  with no regard for the expense visited upon Plaintiff and its deteriorating financial position.

  After having refused to make any payment of principal, interest, taxes or insurance for nearly

  fourteen (14) years, and in response a an itemized Certification of proof of Amount Due,

  Defendant fails to offer any specific objection or challenge to Plaintiff’s figures or calculations.

  If Defendant claimed that he made payments which were not credited properly, he was obligated

  to identify such checks specifically. If he claims Plaintiff’s calculation of interest was somehow

  incorrect, now is the time to demonstrate any inaccuracy. Or if he claimed to have made

  payments of taxes and insurance, these must be identified specifically.

               10. But there was no specific objection or challenge. Defendant, without offering any

  fact based claim or documentary evidence which might constitute a specific challenge to

  Plaintiff’s Certification of Proof of Amount Due, Defendant would relitigate every claim that

  has already been decided and resolved. Issues of standing, possession of the original note, and

  endorsements on the note were resolved when the court entered summary judgment for Plaintiff.
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 5 of 12 PageID: 2613




  A request for depositions of Plaintiff’s representatives and attorneys is not a specific challenge to

  the amount which Plaintiff claims is due. At the final judgment stage, Defendant, having

  offered nothing by way of specific challenge to the amount claimed due, is not entitled to

  embark on a proverbial fishing expedition in the hope that he may find some insignificant

  error or miscalculation. Defendant knows if he made payments of principal, interest, taxes and

  insurance and if Plaintiff’s calculation of interest, a purely arithmetical exercise, is not correct,

  he was obligation to show specifically how it was incorrect. This is not a good faith

  motion. Issues of standing, compliance with the Fair Foreclosure Act, possession of the original

  note, endorsement of the note and challenges to affiants’ knowledge are not subject to

  relitigation at the final judgment stage of a foreclosure action.

             11. The central, indeed only, issue at final judgment is the amount due. And

  any determination of such amount here, as in all foreclosures, is determined by the payment

  history of the loan and the records maintained by the foreclosure plaintiff or its servicer in

  the ordinary course of its regularly conducted business activity.

             12. Thus, Plaintiff here has submitted a Certification of Proof of Amount Due.

  such a document is based on the loan history, also known as the payment or transaction history.

  This record is maintained in all foreclosure cases by the Plaintiff or its servicer as part of the

  regular course of its business and it was the regular practice of the business of plaintiff or its

  servicer to maintain such records, based on the personal inspection or review of a witness or the

  person making the Certification. At a foreclosure trial, a plaintiff seeks to admit such record into

  evidence under the business records exception to the hearsay rule. Since foreclosure trials and

  motions to enter final judgment essentially relate to the admission of documents and records

  maintained by lenders and servicers in the ordinary course of their regularly conducted business

  activities, there is no information which Defendant can obtain in a deposition that cannot be
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 6 of 12 PageID: 2614




  obtained by of a review of documents produced in discovery. But Defendant must first present a

  specific objection to the amount claimed due, and he has failed entirely to do so. A demand for

  deposition without having made any specific, credible challenge to any component of Plaintiff’s

  damages claim, is not good faith and ought not be countenanced. On these facts, Plaintiff is

  entitled to final judgment and to an order denying Defendant’s motions, and, finally, to quash

  the deposition notice.

            13. For these reasons, Plaintiff seeks the entry of an Order entering final judgment in

  the amount sought, the denial of Defendant’s motions in their entirety, and quashing the

  deposition notice.



                                                             Respectfully,

                                                             KML Law Group, P.C.




                                                           BY:____________________
                                                             J. Eric Kishbaugh, Esq.
                                                             Attorney for Plaintiff
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 7 of 12 PageID: 2615




                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




  The Bank of New York Mellon FKA The
  Bank of New York as Trustee for the                  Case No. 2:15-cv-00500 MCA-MAH
  Certificateholders of CWALT Inc.,
  Alternative Loan Trust 2007-7T2, Mortgage
  Pass-Through Certificates, Series 2007-7T2
                         Plaintiff                                   CIVIL ACTION
                 v.
                                                             BRIEF INOPPOSITION TO
  Andrew J. Witty,et al                                   DEFENDANT’S MOTIONS AND IN
                                 Defendant(s)           SUPPORT OF OBJECTION TO MOTION
                                                           FOR DEPOSITION TESTIMONY



                     PLAINTIFF’S BRIEF IN SUPPORT OF ITS MOTION


     I.      STATEMENT OF FACTS

             The salient facts have been set forth in the accompanying opposition and objection

  to the motion for leave to take depositions and may be summarized briefly. This is a mortgage

  foreclosure in which summary judgment has been granted in Plaintiff’s favor and against

  Defendant. The merits of the case are resolved. Plaintiff has filed a Motion to Enter Final

  Judgment, supported by an itemized Certification of Proof of Amount Due. Defendant has filed

  opposition to final judgment and has also moved for a stay of the foreclosure, and for leave to

  take depositions. Plaintiff opposes Defendant’s motion and objects to the motion for leave to

  obtain deposition testimony.

       II      ARGUMENT

               A. The CFR and Dual Tracking: The Motion to Stay Proceedings

               12 CFR Section 1024.41(a) governing loss mitigation procedures allows a

  borrower to enforce the provisions of this section pursuant to 12 U.S.C. Sec. 2605(f). The
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 8 of 12 PageID: 2616




  loss mitigation application contemplated therein is a ‘complete loss mitigation application”,

  which is defined in 12 CFR Sec. 1024.41(b)(1) as “an application in .which a servicer

  has received all the information that the servicer requires …in evaluating applications…Further,

  servicers are required to advise applicants promptly upon receipt of a loss mitigation application

  whether the same is complete, and if incomplete, set forth what documents or information is

  required to complete the application. See 12 CFR Sec. 1024.41(b)(2)(i)(A) and (B). Servicers are

  required to provide a reasonable deadline for the submission of additional documentation if the

  loss mitigation application is incomplete.

       Here, Defendant has failed completely to provide ANY evidence that he submitted a loss

  mitigation application other than his statement that one was submitted in various parts in

  August, 2022. There is no copy of any application or portion thereof, which he claims to have

  submitted. Nor is there any correspondence attached to Defendant’s motion to establish whether

  an application was received, was complete or incomplete, and if incomplete, what documents

  were required to complete the application. Defendant does not say what was submitted and

  whether he submitted documents in response to any request of Plaintiff or its servicer, if indeed

  there was such a request.Applications for loan modifications are regulated heavily and

  the exchange is in writing. Yet Defendant appends zero documentation in support of his

  incredible claim. To argue that more than a year after an application was supposedly submitted,

  despite the absence of supporting documentation, that an application is pending and that a

  foreclosure should be stayed, is not only not credible, but also contrary to specific regulations.

  Defendant is not entitled to a stay of the foreclosure. He has showed no justification for such

  relief. Defendant has failed to show that any loan modification was submitted or is pending.

                B. Opposition to Final Judgment

                Defendant opposes final judgment based on challenges to standing, Plaintiff’s

  possession of the note, the knowledge of affiant and compliance with the Fair Foreclosure Act.
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 9 of 12 PageID: 2617




  All of such challenges lack merit as all issues related to the merits of Plaintiff’s foreclosure case

  have been resolved in Plaintiff’s favor by summary judgment. It is too late to challenge the

  underlying foreclosure and Defendant is not entitled to relitigate these issues. Instead, the only

  issue to be considered at the final judgment stage of foreclosure litigation in New Jersey is the

  amount claimed due under the note and mortgage. And here, Defendant has offered no facts,

  calculations or documentation as to how or why Plaintiff’s calculations of the amount due, are

  incorrect. MONY Life Insurance Company v. Paramus Parkway Bldg Ltd., 364 N.J. Super. 92

  ( App. Div. 2003) is instructive. There, in a foreclosure of commercial real estate, Plaintiff

  submitted a certification as to the amount due. At the eleventh hour, Defendant filed

  opposition on the basis that discovery had not been completed as to the amount due, and

  challenged the reasonableness of the amounts claimed due. Final judgment was entered, after

  which Defendant appealed. The court was unimpressed with Defendant’s contentions. That

  Defendant has failed to make a specific challenge to the amount due was critical. The court

  declined to set aside final judgment because Defendant had offered “no contrary proofs” to

  those which Plaintiff had submitted. 364 N.J. Super. at 102. Further, Defendant was not entitled

  to an evidentiary hearing as to the amount claimed due where Defendant “never established a

  contested fact. Id. at 106.

        So it is here. Defendant has offered no specific challenge to any component of the amount

  claimed due. Defendant has submitted no document from which a court could conclude that

  Plaintiff’s figures are suspect. A general, unsupported challenge to Plaintiff’s figures is not

  sufficient to constitute a specific challenge, warranting an evidentiary hearing. Finally, in the

  absence of a specific challenge, Defendant is not entitled to such a hearing and final judgment
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 10 of 12 PageID: 2618




  should be entered. As to the request for deposition testimony, Defendant has shown no

  entitlement to an evidentiary hearing, much less for discovery by deposition. Again, the

  important element is a specific, factual challenge to the amount claimed due, that that is

  conspicuously and totally absent here. Defendant is not entitled to the relief sought, and Plaintiff

  is entitled to the entry of final judgment.

     II.     CONCLUSION


             For the foregoing reasons, Defendant’s motions should be denied in their entirety

  and final judgment should be entered in the amount set forth in Plaintiff’s motion therefore.




                                                                   Respectfully,

                                                                   KML Law Group, P.C.
                                                                   Attorneys for Plaintiff




                                                                BY:_________________
                                                                  J. Eric Kishbaugh, Esq.
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 11 of 12 PageID: 2619




                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




  The Bank of New York Mellon FKA The
  Bank of New York as Trustee for the
  Certificateholders of CWALT Inc.,
  Alternative Loan Trust 2007-7T2, Mortgage            Case No. 2:15-cv-00500 MCA-MAH
  Pass-Through Certificates, Series 2007-7T2
                         Plaintiff                                    CIVIL ACTION
                 v.
                                                                          ORDER
  Andrew J. Witty,et al
                                Defendant(s)




         THIS MATTER having been brought before the Court upon the Plaintiff’s filing of a

  Motion for Final Judgment, and Defendant having filed opposition to the entry of final judgment

  and also a Motion to Stay Proceedings and a Motion for Leave to Take Deposition Testimony,

  and Plaintiff having filed opposition to Defendant’s motion and an objection to the request to

  take deposition testimony, and good cause having been shown:

                 IT IS ORDERED on this                 day of                                 , 2023

  ORDERED that:
                1. Final Judgment in mortgage foreclosure is entered in Plaintiff’s favor and

  against Defendants in the amount of $2,663,719.67 through August 15, 2023, together with such

  additional interest as may accrue thereafter at the contract rate and any expenses incurred by

  Plaintiff thereafter in the payment of real estate taxes, insurance or other amounts permitted

  pursuant to the note and mortgage and applicable law, and directing the U.S. Marshall to

  schedule and conduct a public sale of the property designated as 496 White Oak Ridge Road,

  Short Hills, New Jersey 07078;

                2. Defendant’s Motion to Stay Foreclosure Proceedings be and hereby is denied;
                3. Defendant’s Motion to Obtain the deposition testimony of Plaintiff’s
Case 2:15-cv-00500-MCA-MAH Document 115 Filed 10/26/23 Page 12 of 12 PageID: 2620




  representatives or those of its attorneys or the staff thereof be and hereby is denied ,

                 4. Plaintiff’s Opposition to the request for deposition testimony is sustained;

  and;

                 5. Defendant’s Motion to Postpone a ruling on the within motions is denied.



                SO ORDERED.



                                                 _____________________________

                                                 MADELINE COX ARLEO, U.S.D.J.
